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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
LISA BUCHANAN CIVIL ACTION NO. 1:17-ev-01314
VERSUS JUDGE DRELL
WAL-MART LOUISIANA, LLC, ET AL. MAGISTRATE JUDGE PEREZ-
MONTES

 

MEMORANDUM IN SUPPORT OF DEFENDANTS’
MOTION FOR SUMMARY JUDGMENT

 

Defendants, Wal-Mart Louisiana, LLC and Wal-Mart Stores, Inc. (“Walmart”),
respectfully submit this Memorandum in Support of their Motion for Summary Judgment. As will
be established herein, plaintiff cannot meet her burden of proof under La. R.S. 9:2800.6.
Therefore, summary judgment is appropriate.

I. FACTUAL AND PROCEDURAL BACKGROUND

This claim arises out of an alleged incident that occurred on June 20, 2016, at the Wal-
Mart Store located in Jena, Louisiana. On this date, plaintiff, Lisa Buchanan arrived at the Store
intending to purchase potting soil and dog food. (Ex. 1, p. 18, lines 9-11). When plaintiff exited
the Store and was returning to her vehicle, she heard someone either call her name or a car backfire,
and she turned her head to the right. (Ex. 1, p. 29, lines 3-13). As she was looking to the right,
plaintiff alleges that she stepped on an area of uneven concrete, causing her to fall. (Ex. 1, p. 24,
lines 9-16). The accident occurred near a yellow bollard in the front row of parking spaces that is
to the far-right side of the parking lot when facing the Store. (Id.; Ex. 1, p. 25, lines 11-14; Ex.
1(A); Ex. 2, Affidavit of Brad Herrington, § 4). Plaintiff's head was still turned to the right when

she fell. (Ex. 1, p. 29, lines 15-17). Plaintiff did not notice the raised area of concrete prior to her
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fall. (Ex. 1, p. 26, lines 4-6; p. 28, lines 23-24).

Asset Protection Associate Brad Herrington measured the difference in elevation in the
concrete expansion joint in the area where plaintiff fell. (Ex. 2, § 9). According to his
measurements, the approximate variance in height is one (1) inch. (Ex. 2, 4 10; See photographs
attached as Ex. 2(A) in globo). The location of the accident is not near the main entrance to the
Store and is not a high traffic area. (Ex. 2, § 6). At the time of Ms. Buchanan’s accident, Mr.
Herrington was not aware of the uneven concrete expansion joint and is not aware of any other
Walmart associate that had knowledge of this condition at the time of Ms. Buchanan’s incident.
(Ex. 2, 47). Mr. Herrington does not know how long the condition existed prior to the incident
and is not aware of any Walmart associate that has knowledge of this. (Ex. 2, § 8).

Kelli Barker was an Assistant Store Manager at the Jena Wal-Mart and was working on
the day of plaintiff's accident. Following plaintiff's accident, Ms. Barker went to look at the area
where plaintiff fell. (Ex. 3, p. 34, lines 15-22). She did not notice what may have caused plaintiff
to fall. (Ex. 3, p. 35, lines 6-9). Since the time of plaintiff's accident, she used the water faucet
near the area where plaintiff fell and did not notice the difference in elevation. (Ex. 3, p. 26, lines
6-12). She does not know how long the uneven area where plaintiff fell was uneven. (Ex. 3, p.
45, lines 10-14).

Il. LAW AND ARGUMENT

A. SUMMARY JUDGMENT STANDARD

As this Court is well aware, summary judgment is appropriate “if the movant shows that
there is no genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317 (1986). Summary

judgment must be entered in favor of the moving party “[w]here the record taken as a whole could
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not lead a rational trier of fact to find for the nonmoving party. . . ..” Matsushita Electric Industrial
Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citations omitted).

In deciding a motion for summary judgment, "the judge's function is not to weigh the
evidence and determine the truth of the matter but to determine whether there is a genuine issue
for trial." Anderson v. Liberty Lobby, 477 U.S. 242, 249 (1986). An issue is genuine only if there
is a sufficient evidentiary basis on which a reasonable jury could find for the non-moving party,
and a factual dispute is material only if it might affect the outcome of the suit under governing
law. Kaucher v. County of Bucks, 455 F.3d 418, 423 (3rd Cir. 2006) (citing Liberty Lobby, 477
U.S. at 248). "If the [nonmoving party's] evidence is merely colorable, or is not significantly
probative, summary judgment may be granted." Liberty Lobby, 477 U.S. at 249-50 (citations
omitted).

In opposing a motion for summary judgment, the non-movant must set forth specific facts
showing that there is a genuine issue for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250,
106 S.Ct. 2505, 2411, 91 L.Ed.2d 202 (1986). However, the non-movant's burden is not satisfied
by some metaphysical doubt as to the material facts, or by conclusory allegations, unsubstantiated
assertions, or a scintilla of evidence. Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (Sth Cir.1994).
Summary judgment is appropriate if the non-movant "fails to make a showing sufficient to
establish the existence of an element essential to that party's case." Celotex Corp. v. Catrett, 477

U.S. 317, 324, 106 S.Ct. 2548, 91 L Ed.2d 265 (1986) (emphasis added).

B. BURDEN SHIFTS TO PLAINTIFF UPON SHOWING OF AN ABSENCE
OF PROOF

Where, as here, the burden of proof at trial is on the party opposing the motion, the party
moving for summary judgment satisfies its burden on the motion by identifying the elements of

the opposing party's claims for which there is an absence of proof. Stahl v. Novartis Pharm. Corp.,
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283 F.3d 254, 263 (Sth Cir. 2002). The party opposing the motion may not rest on mere allegations
or denials of pleadings but must set forth specific facts showing a genuine issue for trial. Anderson
vy. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). To satisfy this burden, the nonmovant must
"identify specific evidence in the record, and articulate the ‘precise manner’ in which that evidence
supported their claim." Forsyth v. Barr, 19 F.3d 1527, 1537 (Sth Cir. 1994), cert. denied, 513 U.S.
871 (1994). The evidence must be admissible to avoid summary judgment. See Thomas v. Price,
975 F.2d 231, 235 (Sth Cir. 1992).

Thus, to withstand a properly supported motion for summary judgment, the nonmoving
party, who bears the burden of proof at trial, must come forward with evidence to support the

essential elements of its claim. Celotex, 477 U.S. at 321-23. “[A] complete failure of proof

 

concerning an essential element of the nonmoving party’s case renders all other facts immaterial.”
Id. at 323.

C. LOUISIANA REVISED STATUTE 9:2800.6

La. R.S. 9:2800.6 is the controlling statute for trip and fall cases at a merchant retail store,
and other statutes do not apply to falls due to a condition in or on the merchant’s premises.
Caldwell v. Wal-Mart Stores Inc, No. CV 17-00904, 2018 WL 1386635, at *2 (W.D. La. Mar. 19,
2018). This statute encompasses accidents due to a defect in the parking lot of a merchant retail
store. Id. La. Rev. Stat. 9:2800.6 reads in its entirety as follows:

La. R.S. 9:2800.6 Burden of proof in claims against merchants.

A. A merchant owes a duty to persons who use his premises to exercise reasonable

care to keep his aisles, passageways, and floors in a reasonably safe condition. This

duty includes a reasonable effort to keep the premises free of any hazardous
conditions which reasonably might give rise to damage.

B. In a negligence claim brought against a merchant by a person lawfully on the
merchant’s premises for damages as a result of an injury, death, or loss sustained
because of a fall due to a condition existing in or on a merchant’s premises, the
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claimant shall have the burden of proving, in addition to all other elements of his
cause of action, all of the following:

(1) The condition presented an unreasonable risk of harm to the claimant and
that risk of harm was reasonably foreseeable.

(2) The merchant either created or had actual or constructive notice of the
condition which caused the damage, prior to the occurrence.

(3) The merchant failed to exercise reasonable care. In determining reasonable
care, the absence of a written or verbal uniform cleanup or safety procedure
is insufficient, alone, to prove failure to exercise reasonable care.

Cc. Definitions

(1) “Constructive Notice” means the claimant has proven that the condition
existed for such a period of time that it would have been discovered if the
merchant had exercised reasonable care. The presence of an employee of
the merchant in the vicinity in which the condition exists does not, alone,
constitute constructive notice, unless it is shown that the employee knew,
or in the exercise of reasonable care should have known, of the condition.

(2) “Merchant” means one whose business is to sell goods, foods, wares, or
merchandise as a fixed place of business. For purposes of this Section, a
merchant includes an innkeeper with respect to those areas or aspects of the
premises which are similar to those of a merchant, including but not limited
to shops, restaurants, and lobby areas of or within the hotel, motel, or inn.

D. Nothing herein shall affect any liability which a merchant may have under Civil
Code Arts. 660, 667, 669, 2317, 2322, or 2695.

Therefore, in a case such as this one, in addition to the other elements, the plaintiff must prove:

1. The condition presented an unreasonable risk of harm and that risk was reasonably

foreseeable;

2. The merchant either created or had actual or constructive notice of the condition which
caused the damage, prior to the occurrence; and

3. The merchant failed to exercise reasonable care.

Allen v Wal-Mart Stores, 37,352 (La. App. 2d Cir. 6/25/03), 850 So.2d 895, 897. The plaintiff s

 

failure to prove any of these factors is fatal to the plaintiff's claim. Id.
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E. ARGUMENT

Plaintiff must establish not only the existence of a condition that presented an unreasonable
risk of harm that caused her to trip, but also that Wal-Mart either created the condition, or had
actual or constructive notice that it existed. Plaintiff cannot carry this burden. Moreover, Courts
do not hesitate to grant Motions for Summary Judgment when plaintiffs fail to meet this heavy
burden. See Leonard v. Sam's W., Inc., No. CIV.A. 11-846, 2013 WL 121761, at *3 (M.D. La.
Jan. 9, 2013) (granting summary judgment where plaintiff tripped on a depression in the
merchant’s parking lot); Caldwell v. Wal-Mart Stores Inc, No. CV 17-00904, 2018 WL 1386635,
at *] (W.D. La. Mar. 19, 2018) (granting summary judgment where plaintiff tripped in a pothole
in the merchant’s parking lot); Dowdy v. City of Monroe, 78 So.3d 791, 798-799
(La.Ct.App.2011) (“A review of the jurisprudence reveals that the appellate courts have resolved
on motions for summary judgment the issue of whether a condition presented an unreasonable risk
of danger.”) Leonard v. Parish of Jefferson, 902 So.2d 502 (La.Ct.App.2005) (affirming trial
court's grant of summary judgment where plaintiff slipped on a sidewalk height differential of over

one inch).

1. THERE IS NO EVIDENCE THAT THE CONDITION PRESENTED AN
UNREASONABLE RISK OF HARM

In order for a defect to presént an “unreasonable risk of harm” to persons on the premises,
it must be of such a nature as to constitute a “dangerous condition which would reasonably be
expected to cause injury to a prudent person using ordinary care under the circumstances.” Lee v.
Magnolia Garden Apartments, 96-1328 (La. App. 1 Cir. 5/9/97), 694 So. 2d 1142, 1146, writ
denied, 97-1544 (La. 9/26/97), 701 So. 2d 990. Hence, not every minor imperfection or

irregularity in a thing will result in liability.
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In determining whether a paving defect presents an unreasonable risk of harm, the
Louisiana Supreme Court has considered the size of the defect, its location, and the accident history
of the defect. Leonard v. Sam's W., Inc., No. CIV.A. 11-846, 2013 WL 121761, at *3 (M.D. La.
Jan. 9, 2013) (citing Reed v. Wal-Mart Stores, Inc., 97-1174 (La. 3/4/98), 708 So. 2d 362; Boyle
v. Bd. of Sup'rs, Louisiana State Univ., 96-1158 (La. 1/14/97), 685 So. 2d 1080). The Court also
considered the gravity and risk of harm against the cost and feasibility of repair, social utility, and
individual and societal rights and obligations. Id.

First, considering the size of the defect, the evidence reveals that there is a vertical
separation of approximately one inch in the concrete expansion joint upon which Ms. Buchanan
tripped. (Ex. 2,4 10). “[T]he Louisiana Supreme Court has held that similar depressions and
variances in walkways were not unreasonably dangerous.” Leonard v. Sam's W., Inc., No. CIV.A.
11-846, 2013 WL 121761, at *3 (M.D. La. Jan. 9, 2013). The court in Leonard surveyed the
Louisiana Supreme Court jurisprudence as follows: Reed v. Wal-Mart Stores, Inc., 97-1174 (La.
3/4/98), 708 So. 2d 362 (holding that a one-half inch depression was not unreasonably
dangerous); Boyle v. Bd. of Sup'rs, Louisiana State Univ., 96-1158 (La. 1/14/97), 685 So. 2d 1080
(depression of one inch to two inches did not present an unreasonable risk); and White v. City of
Alexandria, 216 La. 308, 314, 43 So. 2d 618, 620 (1949) (holding that a variance in a sidewalk of
one-half inch to two inches did not present an unreasonable risk of harm).

Second, the location of the depression and the absence of accident history also support a
finding that the condition was not unreasonably dangerous. In the instant matter, there were no
reported accidents at the location of Ms. Buchanan’s incident or anywhere in the parking lot prior
to her incident. (Ex. 2, § 4). Furthermore, the complained of condition was not in a high traffic

area. (Ex. 2,46). “These factors suggest that the likelihood and magnitude of potential harm
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were low.” Leonard v. Sam's W., Inc., No. CIV.A. 11-846, 2013 WL 121761, at *3 (M.D. La.

Jan. 9, 2013).

Third, the cost to eliminate all such minor defects is staggering. Reed, 708 So. 2d at 366;
See also Boyle, 658 So. 2d at 1083; Leonard, 2013 WL 121761, at *3. The Louisiana Supreme
Court in both Reed and Boyle noted the proper cost to consider is not the cost of repairing a single

crack in a walkway, but the cost of repairing all similar defects. In Boyle, 658 So. 2d at 1083, the

Court stated:

The cost of repair to be considered includes not just the minor costs of repairing
the single defect in question, but the cost of repairing all similar or worse defects
existing in the twenty-two or more miles of sidewalk. Otherwise university
officials would be placed in the position of having to predict where the next
accident will take place regardless of the relative seriousness of the defect.

In Reed, 708 So. 2d at 366, the Court stated:

The cost of repairing the defect is our final consideration. Contrary to the
plaintiff's contention that “the defect could have easily been remedied for a
minimal amount,” the cost to eliminate all such minor defects is staggering.
Plaintiffs argument incorrectly assumes that the defendant need only have
smoothed the joint at issue. Such a contention simplistically overlooks the reality
of the situation. A defendant would have to be able to accurately foresee which
crack an individual would trip over. Even an elimination of all such elevation
deviations in this entire parking lot would fall short of repairing the defect. To
avoid liability, this defendant would have to either eliminate all such “defects”
in all of its parking lots and sidewalks or cease doing business. Beyond that,
parties having garde of the countless concrete parking lots, driveways,
sidewalks, and streets throughout the state would likewise have to smooth such
surfaces eliminating all elevation deviations of more than 1/4 inch to avoid
potential liability. Furthermore, such an enormous expense would not rest with
the parties owning the paved surfaces, but rather the cost would be shifted either
to the public through taxing in the case of government-owned surfaces or, in the
case of privately owned concrete surfaces, to consumers via higher prices in
retail or increased fees for contract parking. Beyond the cost of the initial
smoothing, maintaining such surfaces free from defects is likely impossible, and
is certainly cost-prohibitive.

As in Boyle, Reed and Leonard, the appropriate inquiry should be the cost to repair all such
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minor defects in all sidewalks and parking areas surrounding the Store. Due to the continuing
settlement which occurs in Louisiana, the cost of repairing all minor defects in every walkway and
parking area would be staggering.

Finally, the Louisiana Supreme Court has stated that “the utility of paved parking lots is
clearly apparent as unpaved parking lots would present far more hazards.” Reed _v. Wal-Mart

Stores, Inc., 97-1174 (La. 3/4/98), 708 So. 2d 362, 366; See also Boyle v. Bd. of Sup'rs, Louisiana

 

State Univ., 96-1158 (La. 1/14/97), 685 So. 2d 1080, 1083; Leonard v. Sam's W.., Inc., No. CIV.A.
11-846, 2013 WL 121761, at *4 (M.D. La. Jan. 9, 2013).
Accordingly, plaintiff cannot meet her burden of proof to show that the uneven expansion

joint presented an unreasonable risk of harm.

2. THERE IS NO EVIDENCE THAT WAL-MART CREATED THE
ALLEGED HAZARDOUS CONDITION

Plaintiff offers no evidence that Wal-Mart or any associate of Wal-Mart created the alleged
condition in this matter that caused plaintiff to fall. Moreover, Kelli Barker testified in her
deposition that as of the time of her deposition, there had never been any work done in the area

where plaintiff fell. (Ex. 3, pg. 24, lines 11-14, and pg. 26, lines 13-17).

3. THERE IS NO EVIDENCE THAT WAL-MART HAD ACTUAL OR
CONSTRUCTIVE NOTICE OF THE ALLEGED HAZARDOUS

CONDITION
The record is devoid of evidence that any Wal-Mart employee knew of the uneven
expansion joint at the time of the incident. Asset Protection Associate Brad Herrington was not
aware of the uneven concrete expansion joint at the time of Ms. Buchanan’s incident. (Ex. 2, § 7).
He is also not aware of any other Walmart associate that had knowledge of this condition at the

time of Ms. Buchanan’s incident. Id. Mr. Herrington does not know how long the condition

existed prior to the incident and is not aware of any Walmart associate that has knowledge of this.
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(Ex. 2, 4 8). Kelly Barker, an Assistant Manager at the time of Ms. Buchanan’s incident, also
testified that she was unaware of anyone that was aware of the condition if they had not watched
the video of this incident. (Ex. 3, p. 23, lines 20-23; pg. 45, lines 10-14). Indeed, Ms. Buchanan
herself testified that she had never noticed the uneven pavement. (Ex. 1, p. 28, lines 23-24).
In Waddles v. Brookshire Grocery Co., 50,150 (La. App. 2 Cir. 9/30/15), 181 So.3d 772,

the Court affirmed the trial court’s finding that the defendant merchant did not have notice of a
crack in the parking lot that caused plaintiff’s fall:

Mr. Hightower's testimony demonstrates that Defendant did not have actual

notice of the condition because he testified that no one other than Plaintiff ever

reported an accident in the area where Plaintiff fell, even though this is an area

used by numerous customers and employees each day. The evidence presented

at trial does not prove that Defendant had constructive notice of the condition.

Plaintiff did not prove that the condition in the parking lot crosswalk existed for

such a period of time that it would have been discovered if Defendant had

exercised reasonable care. Although employees use the crosswalk daily, no
evidence was introduced that any employee knew or should have known of the

condition.
Waddles v. Brookshire Grocery Co., 50,150 (La. App. 2 Cir. 9/30/15), 181 So. 3d 772, 778.

The same is true in the instant matter. There is no evidence that Walmart or any of its
associates had actual knowledge of the uneven expansion joint. Furthermore, there is no evidence
of constructive notice. Specifically, there is no evidence that the condition existed for such a
period of time that it would have been discovered in the exercise of reasonable care.

Ill. CONCLUSION

In order to prevail on her claim, plaintiff must satisfy each element of La. R.S. 9:2800.6.
Plaintiff cannot satisfy this burden of proof. Plaintiff has failed to produce any evidence that the
alleged defect presented an unreasonable risk of harm. Furthermore, plaintiff cannot produce any
evidence or any witness who can testify that Wal-Mart created the condition which existed, or that

it had actual or constructive notice of its existence.

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Respectfully submitted,

CHADWICK7& ODOM, LLC

 

 

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CERTIFICATE

] HEREBY CERTIFY that a copy of the above and foregoing was filed with the United
States District Court for the Western District of Louisiana by electronic case filing/case
management and that a copy of the same was served on all counsel of record by electronic

notification.

Alexandria, Louisiana this 30™ day of April, 2019.

  

CHADWICK

 

Gregory B. Odom, II (#33470)

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